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  12
        JOHN DOE 1 and JOHN DOE 2
  13

  14                        UNITED STATES DISTRICT COURT
  15
                           CENTRAL DISTRICT OF CALIFORNIA
  16

  17   JOHN DOE 1, an individual; and JOHN        Case No.: 2:20-cv-05554-RSWL-AGR
  18   DOE 2, an individual,
                                                  REQUEST FOR JUDICIAL
  19         Plaintiffs,                          NOTICE IN SUPPORT OF
  20                                              PLAINTIFFS’ OPPOSITION TO
                   v.                             DEFENDANT UNITED AIRLINES,
  21                                              INC.’S MOTION TO DISMISS
  22   UNITED AIRLINES, INC., an Illinois         PORTIONS OF PLAINTIFFS’
       Corporation; ROE 1, an individual; ROE     FIRST AMENDED COMPLAINT
  23   2, an individual; ROE 3, an individual;
  24   and ROES 4 through 50, inclusive,          Date: August 4, 2020
                                                  Time: 10:00 a.m.
  25        Defendants.                           Crtrm: TBD
  26
                                                  Complaint Filed: May 18, 2020
  27                                              FAC Filed: May 20, 2020
  28

                                                 i
            REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED
                  AIRLINES, INC.’S MOTION TO DISMISS PORTIONS OF PLAINTIFFS’ FAC
Case 2:20-cv-05554-RSWL-AGR Document 8-2 Filed 07/14/20 Page 2 of 41 Page ID #:159



   1    TO THE COURT AND ALL PARTIES AND THEIR COUNSEL OF
   2    RECORD:
   3          Plaintiffs John Doe 1 and John Doe 2 (collectively, “Plaintiffs”) hereby
   4    request, pursuant to Federal Rules of Evidence Rule 201, that the Court take judicial
   5    notice of the following documents in support of Plaintiffs’ Opposition to Defendant
   6    United Airlines, Inc.’s Motion to Dismiss Portions of Plaintiffs’ First Amended
   7    Complaint:
   8          1.     Exhibit “A” to this Request for Judicial Notice is a true and correct
   9    copy of Plaintiffs’ First Amended Complaint filed on May 20, 2020, in the matter
  10    entitled John Doe 1, et al. v. United Airlines, Inc., et al., Los Angeles Superior Court
  11    Case No. 20STCV18888.
  12          2.     Exhibit “B” to this Request for Judicial Notice is a true and correct
  13    copy of Plaintiffs’ Proof of Service of Summons filed on May 29, 2020, in the
  14    matter entitled John Doe 1, et al. v. United Airlines, Inc., et al., Los Angeles
  15    Superior Court Case No. 20STCV18888.
  16          3.     Exhibit “C” to this Request for Judicial Notice is a true and correct
  17    copy Defendant’s Notice of Removal filed on June 23, 2020, in the above-captioned
  18    matter.1
  19          When ruling on a 12(b)(6) motion, a court may take judicial notice of “matters
  20    of public record” without converting a motion to dismiss into a motion for summary
  21    judgment. Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001); MGIC
  22    Indem. Corp. v. Weisman, 803 F.2d 500, 504 (9th Cir.1986).
  23          Under Federal Rule of Evidence Rule 201, judicial notice is proper when a
  24    fact is not subject to reasonable dispute and capable of accurate and ready
  25
  26    1
          Defendant’s Notice of Removal incorrectly references the resident city and
  27    county of Plaintiff John Doe 1. Plaintiffs redacted the incorrect portion of the
        Notice of Removal. As alleged in Plaintiffs’ First Amended Complaint, Plaintiff
  28    John Doe 1’s residence is County of Essex, State of New Jersey.
                                                   1
             REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED
                   AIRLINES, INC.’S MOTION TO DISMISS PORTIONS OF PLAINTIFFS’ FAC
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   1    determination by resort to sources whose accuracy cannot reasonably be questioned.
   2    Wible v. Aetna Life Ins. Co., 375 F. Supp. 2d 956, 966 (C.D. Cal. 2005); Fed. R.
   3    Evid. 201.
   4          The Court may take judicial notice of the above-referenced documents
   5    because they are matters of public record and can be accurately and readily
   6    determined from sources whose accuracy cannot reasonably be questioned.
   7
   8    Dated: July 14, 2020                 THE DARWISH LAW FIRM, APC
   9
  10
                                            By: /s/ Darren D. Darwish
  11                                            Darren D. Darwish, Esq.
                                                Attorneys for Plaintiffs
  12
                                                JOHN DOE 1 and JOHN DOE 2
  13
  14
        Dated: July 14, 2020                 AZIZIAN LAW, P.C.
  15
  16
  17
                                            By: /s/ Benjamin A. Azizian
  18
                                                Benjamin A. Azizian, Esq.
  19                                            Attorneys for Plaintiffs
  20                                            JOHN DOE 1 and JOHN DOE 2

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                                                2
            REQUEST FOR JUDICIAL NOTICE ISO PLAINTIFFS’ OPPOSITION TO DEFENDANT UNITED
                  AIRLINES, INC.’S MOTION TO DISMISS PORTIONS OF PLAINTIFFS’ FAC
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                    EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 05/20/2020 12:27 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Ramos,Deputy Clerk
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                     10        Attorneys for Plaintiffs,
                               JOHN DOE 1 and JOHN DOE 2
                     11

                     12
                                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                     13
                                                                       FOR THE COUNTY OF LOS ANGELES
                     14

                     15      JOHN DOE 1, an individual; and JOHN DOE                                        Case No.: 20STCV18888
                             2, an individual,
                     16
                                                                                                            FIRST AMENDED COMPLAINT FOR
                     17                 Plaintiffs,                                                         DAMAGES FOR:

                     18                             v.                                                       1. VIOLATION OF UNRUH ACT
                                                                                                                (CIVIL CODE § 51)
                     19      UNITED AIRLINES, INC., an Illinois                                              2. SEXUAL ASSAULT;
                     20      Corporation; ROE 1, an individual; ROE 2, an                                    3. SEXUAL BATTERY (CIVIL CODE §
                             individual; ROE 3, an individual; and ROES 4                                       1708.5);
                     21      through 50, inclusive,                                                          4. BATTERY;
                                                                                                             5. INTENTIONAL INFLICTION OF
                     22               Defendants.                                                               EMOTIONAL DISTRESS;
                                                                                                             6. NEGLIGENT INFLICTION OF
                     23                                                                                         EMOTIONAL DISTRESS;
                     24                                                                                      7. NEGLIGENCE; AND
                                                                                                             8. NEGLIGENT HIRING, TRAINING,
                     25                                                                                         SUPERVISION, AND RETENTION

                     26                                                                                     DEMAND FOR JURY TRIAL
                     27

                     28


                                                  FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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    1           COMES NOW, Plaintiffs JOHN DOE 1 and JOHN DOE 2, who complain and allege as

    2   follows:

    3                                               PARTIES

    4           1.      Plaintiff JOHN DOE 1 (“JOHN DOE 1”) files this Complaint for Damages under

    5   a fictitious name to protect his identity pursuant to Government Code section 6254 and Penal Code

    6   section 293. JOHN DOE 1 is an African American male adult and professional athlete in the

    7   National Football League (NFL) residing in the County of Essex, State of New Jersey. 1 JOHN

    8   DOE 1 was sexually harassed, assaulted, abused, and violated, and verbally and physically

    9   harassed by a female passenger on a Defendant UNITED AIRLINES, INC. flight from Los

   10   Angeles International Airport (LAX) to Newark Liberty International Airport (EWR) which began

   11   on or about February 10, 2020.

   12           2.      Plaintiff JOHN DOE 2 (“JOHN DOE 2”) files this Complaint for Damages under

   13   a fictitious name to protect his identity pursuant to Government Code section 6254 and Penal Code

   14   section 293. JOHN DOE 2 is an African American male adult residing in County of Philadelphia,

   15   State of Pennsylvania. JOHN DOE 2 was sexually harassed, assaulted, abused, and violated by a

   16   passenger on a Defendant UNITED AIRLINES, INC. flight from Los Angeles International

   17   Airport (LAX) to Newark Liberty International Airport (EWR) which began on or about February

   18   10, 2020.

   19           3.      JOHN DOE 1 and JOHN DOE 2 are collectively referred to herein as

   20   “PLAINTIFFS.”

   21           4.      Defendant UNITED AIRLINES, INC. (“UNITED”) is a major U.S. airline

   22   incorporated in Delaware and headquartered in Chicago, Illinois, and does business in the County

   23   of Los Angeles. UNITED operates a large domestic and international route network, and has

   24   several “hubs” across the U.S., including Los Angeles (LAX), the starting point of the flight at the

   25   heart of this matter.

   26           5.      PLAINTIFFS are ignorant of the true names and capacities of their assailant, who

   27
        1
          PLAINTIFFS’ original Complaint identified the incorrect city and county of JOHN DOE 1’s
   28
        residence. This First Amended Complaint, in part, corrects this clerical error.
                                                         1
                     FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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    1   was a female passenger on their UNITED flight, and the UNITED flight attendants. UNITED

    2   failed to cooperate and assist PLAINTIFFS, through their counsel, with evidence concerning the

    3   assault, including, but not limited to, refusing to provide PLAINTIFFS with the identities of their

    4   assailant, the flight attendants, and potential witnesses. Therefore, PLAINTIFFS sue their assailant

    5   and the UNITED flight attendants by the following fictious names (ROES 1 to 3) pursuant to

    6   California Code of Civil Procedure section 474. PLAINTIFFS will amend this Complaint to state

    7   the true names and capacities of these fictitiously named Defendants when those names are

    8   ascertained. PLAINTIFFS are informed and believe, and thereon allege, that each of the

    9   fictitiously named Defendant (ROES 1 through 3) is legally responsible in some manner for the

   10   events and damages alleged in this Complaint under the respective causes of action alleged herein.

   11          6.      Defendant ROE 1 (referred to herein as “ROE 1” or “ASSAILANT”) sexually

   12   harassed, assaulted, abused, and violated, and verbally and physically harassed JOHN DOE 1 and

   13   JOHN DOE 2 during a UNITED flight departing LAX to EWR on or about February 10, 2020.

   14   ASSAILANT is a middle-aged Caucasian female.

   15          7.      Defendant ROE 2 (referred to herein as “ROE 2”) is a male flight attendant

   16   employed by UNITED and was a flight attendant on board the UNITED flight departing LAX to

   17   EWR on or about February 10, 2020. At all relevant times herein mentioned, ROE 2 was a flight

   18   attendant, agent, and/or employee of UNITED and was acting within the course and scope of such

   19   agency and/or employment with UNITED.

   20          8.      Defendant ROE 3 (referred to herein as “ROE 3”) is a female flight attendant

   21   employed by UNITED and was a flight attendant on board the UNITED flight departing LAX to

   22   EWR on or about February 10, 2020. At all relevant times herein mentioned, ROE 3 was a flight

   23   attendant, agent, and/or employee of UNITED and was acting within the course and scope of such

   24   agency and/or employment with UNITED.

   25          9.      ROE 2 and ROE 3 are collectively referred to herein as “FLIGHT

   26   ATTENDANTS.”

   27          10.     PLAINTIFFS do not know the true names and capacities of the Defendants sued

   28   herein as ROES 4 through 50, inclusive, and therefore sues those Defendants by fictitious names

                                                         2
                     FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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    1   pursuant to California Code of Civil Procedure section 474. PLAINTIFFS will amend this

    2   Complaint to state the true names and capacities of the fictitiously named Defendants when those

    3   names are ascertained. PLAINTIFFS are informed and believe, and thereon allege, that each of the

    4   fictitiously named Defendant is legally responsible in some manner for the events and damages

    5   alleged in this Complaint under the causes of action alleged herein.

    6          11.     PLAINTIFFS are informed and believe, and thereon allege, that each of the named

    7   and fictitious Defendants identified in this Complaint was the agent, servant, member, partner,

    8   employee, associate, co-conspirator, co-joint venture, alter-ego of one or more of the other

    9   defendants and/or was acting in the course and scope of such agency, partnership, joint venture,

   10   association and/or employment when the acts giving rise to the causes of action occurred.

   11          12.     UNITED, ASSAILANT, FLIGHT ATTENDANTS, and ROES 4 through 50,

   12   inclusive, are collectively referred to herein as “DEFENDANTS.”

   13                                     NATURE OF THE ACTION

   14          13.     This is an action against DEFENDANTS arising from the sexual harassment and

   15   assault of PLAINTIFFS and for the failure to have and/or follow policies and procedures to

   16   prevent, report, and respond to sexual harassment and assault that occurred on a UNITED flight.

   17          14.     The prevalence of passenger-on-passenger in-flight sexual assault is a well-known,

   18   and growing, problem. In fact, in 2018, the FBI issued a warning – to airlines and the public at

   19   large – that the number of sexual assaults reported during commercial airline flights has been

   20   increasing “at an alarming rate.” 2

   21          15.     UNITED, like all airlines, has an affirmative duty to aid and protect its passengers.

   22   This duty includes protecting passengers from sexual assaults by fellow passengers and

   23   responding properly and timely to in-flight sexual assaults that do occur.

   24          16.     UNITED violated this duty by failing to implement and enforce appropriate

   25   policies and procedures to prevent, or properly respond to, sexual assaults that occur on its flights;

   26

   27   2
         Javier De Diego et al., FBI: Sexual Assaults on Flights Increasing ‘At An Alarming Rate’, CNN Politics
        (June 20, 2018, 9:19 PM ET), https://www.cnn.com/2018/06/20/politics/fbi-airplane-sexual-
   28
        assault/index.html

                                                           3
                     FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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    1   failing to report in-flight sexual assaults to the proper authorities, or to any authorities; and failing

    2   to cooperate with authorities in the reporting and investigation process into in-flight sexual

    3   assaults.

    4             17.    As a result of these violations by UNITED and its FLIGHT ATTENDANTS,

    5   PLAINTIFFS were sexually harassed and assaulted by their fellow passenger, ASSAILANT,

    6   while they were on their UNITED flight.

    7             18.    UNITED’s failure to implement and enforce polices to prevent and timely and

    8   properly respond to in-flight sexual assault led UNITED’s FLIGHTS ATTENDANTS failure to

    9   address the assaults and harassments detailed below; fail to report the assaults and harassments to

   10   the any authorities; and fail to cooperate with authorities investigating those assaults and

   11   harassments.

   12             19.    UNITED’s, including its FLIGHT ATTENDANTS and other agents and/or

   13   employees, actions and inactions were – and are – part of a pattern of behavior and a common

   14   course of conduct towards all its passengers, including PLAINTIFFS.

   15             20.    PLAINTIFFS seek appropriate relief, including, but not limited to, compensatory

   16   damages and punitive damages, as they were unnecessarily put at risk and harmed by

   17   DEFENDANTS and UNITED’s common course of misconduct.

   18                                      FACTUAL ALLEGATIONS

   19             A.     THE PREVALENCE OF IN-FLIGHT PASSENGER-ON-PASSENGER

   20                    SEXUAL ASSAULT IS WELL-KNOWN

   21             21.    In June 2018, the FBI issued a statement that the number of sexual assaults

   22   reported during commercial airline flights is increasing “at an alarming rate,” and the number of

   23   actual cases could be much higher than those reported. 3 It was further reported that the bulk of

   24   the incidents happen on red-eye overnights, flights of three hours or more where cabin lights might

   25   be darkened, and/or instances where alcohol is being consumed.

   26             22.    Crimes aboard aircraft fall within the FBI’s jurisdiction, and the agency said its

   27

   28   3
            Id.

                                                            4
                        FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1   investigations into in-flight sexual assaults increased by 66% from fiscal year 2014 to 2017. 4

  2           23.     The International Air Transport Association reported 812 incidents during 2018

  3   that were categorized as inappropriate behavior such as touching, sexual harassment, physical

  4   aggression, or indecent acts. 5

  5           24.     In a 2017 Association of Flight Attendants survey, 20% of flight attendants

  6   reported receiving a passenger report of in-flight sexual assault. 6

  7           25.     Airline passenger organization FlyersRights.org released 20 detailed passenger

  8   complaints of in-flight sexual assaults, made to the U.S. Department of Transportation, and

  9   obtained via FOIA requests. These reports also provide a sense of the scope and frequency of

 10   inflight sexual assault. 7

 11           26.     Various news media has been reporting on the prevalence of in-flight sexual

 12   assaults for years. 8

 13           27.     The FBI itself noted the similarity of these crimes: “…agents describe elements of

 14   these crimes as being strikingly similar. The attacks generally occur on long-haul flights when the

 15   cabin is dark. The victims are usually in middle or window seats, sleeping, and covered with a

 16
      4
        Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FBI News (Apr.
 17   26, 2018), https://www.fbi.gov/news/stories/raising-awareness-about-sexual-assault-aboard-aircraft-
      042618
 18   5
        International Air Transport Association, Safety Report 2018, p. 111-112,
 19   https://libraryonline.erau.edu/online-full-text/iata-safety-reports/IATA-Safety-Report-2018.pdf.
      6
        #MeToo in the Air, Association Of Flight Attendants-CWA, https://www.afacwa.org/metoo#a1.
      7
 20     https://flyersrights.org/wp-content/uploads/2018/11/DOT-Sexual-Assault-Records.pdf.
      8
        See, e.g., Andrew Appelbaum, Recent In-Flight Sexual Abuse Complaints to Feds Released by Airline
 21   Passenger Group…Nothing Done?, Flyersrights.Org (Nov. 29, 2018),
      https://flyersrights.org/pressrelease/recent-in-flight-sexual-abuse-complaints-to-feds-released-by-airline-
 22   passenger-group/; Nora Caplan-Bricker, Flight Risk, Slate (Aug. 31, 2016), https://slate.com/human-
      interest/2016/08/flightrisk.html; Delta Passenger Sues Airline, Claims Crew Didn’t Detain Passenger
 23   Who Sexually Assaulted Her on Flight, FOX News (Sept. 28, 2018),
      https://www.foxnews.com/travel/delta-passenger-sues-airlineclaims-crew-didnt-detain-passenger-who-
 24   sexually-assaulted-her-on-flight; Allison Dvaladze, Airline Industry Treats Sexual Assaults in the Skies
      Like an Inconvenience, Not a Crime, USA Today (Apr. 1, 2019, 6:00 AM ET),
 25   https://www.usatoday.com/story/opinion/voices/2019/04/01/sexual-assault-airlineflight-elaine-chao-
      trump-boeing-column/3312204002/; Christopher Mele, Sexual Assault on Flights: Experts Recommend
 26   Ways to Stay Safe and Combat It, N.Y. Times (Mar. 23, 2019),
      https://www.nytimes.com/2019/03/23/travel/airline-flights-sexual-assault.html; David Oliver, Passenger
 27   Indicted for Alleged Mid-Flight Sexual Assault of 19-Year-Old Woman, USA Today (May 21, 2019, 9:54
      AM ET), https://www.usatoday.com/story/travel/flights/2019/05/21/united-airlines-passengeralleges-
 28
      sexual-assault/3751023002/.

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                    FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                                  #:168


  1   blanket or jacket. They report waking up to their seatmate’s hands inside their clothing or

  2   underwear.” 9

  3           28.     The FBI also noted what should happen in response to a passenger reporting an

  4   incident to a member of the flight crew: “Flight attendants and captains represent authority on the

  5   plane…they can alert law enforcement, and they can sometimes deal with the problem in the air.

  6   The flight crew can also put the offender on notice, which might prevent further problems. If

  7   alerted in advance [by the pilot radioing ahead to the airport], FBI agents can be on hand when

  8   the plane lands to conduct interviews and take subjects into custody. FBI victim specialists can

  9   respond as well, because victims of federal crimes are entitled by law to a variety of services.” 10

 10           29.     The media has reported about airlines in general failing to adequately respond to

 11   in-flight sexual assault, reporting that frequently: victims might be forced to stay in their assigned

 12   seat next to their assailant for the duration of the flight; no reprimand or action is taken against

 13   the assailant; law enforcement is not notified from the air so they are not there when the plane

 14   lands; the assailant is allowed to de-plane without being questioned, detained, or even identified;

 15   the victim has to wait at the gate – sometimes for hours – for the gate agents to call TSA, who

 16   usually calls the local police (not the FBI); the local police sometimes won’t even take a report

 17   because in-flight assaults are not within their jurisdiction; the airline simply tells the victim to call

 18   customer service with her “complaint;” no identities (of assailant or potential witnesses) are

 19   shared with the victim or recorded; no evidence is preserved; and the victim is left to contact the

 20   FBI herself, with no evidence or identities to support her report of the crime she has suffered. 11

 21           30.     Eighty-six percent of flight attendants surveyed said they were uncertain of, or had

 22   no knowledge of, any policies, procedures, or even guidance from their airlines for handling

 23

 24   9
        FBI, Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FBI NEWS
      (Apr. 26, 2018), https://www.fbi.gov/news/stories/raising-awareness-about-sexual-assault-aboard-
 25   aircraft-042618.
      10
         Id.
 26   11
         What Happens After You’re Sexually Assaulted on a Plane? Not Much, SPLINTER (Oct. 31, 2016,
      1:29 PM), https://splinternews.com/what-happens-after-youre-sexually-assaulted-on-a-plane-
 27   1793863317. The 2017 Association of Flight Attendants survey found that law enforcement (not
      necessarily the FBI) was contacted or met the plane less than half the time. #MeToo in the Air,
 28
      Association Of Flight Attendants-CWA, https://www.afacwa.org/metoo#a1.

                                                          6
                    FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1   sexual assault reports. 12

  2           31.     UNITED, and its FLIGHT ATTENDANTS, knew – or should have known – of

  3   this growing prevalence of in-flight sexual assaults because it is widely available and known

  4   public knowledge.

  5           B.      UNITED HAS A DUTY TO PROTECT AND AID ITS PASSENGERS

  6           32.     As a common carrier, UNITED, including its employees, has a special heightened

  7   duty under common law to provide due care to ensure, protect, and aid in the protection of

  8   passengers’ safety.

  9           33.     Passengers entrust and have entrusted UNITED with this duty of care to ensure,

 10   protect, and aid in the protection of their safety while they are passengers on a UNITED flight.

 11           34.     UNITED’s special duty to provide due care to ensure, protect, and aid in the

 12   protection of passengers’ safety includes a duty to take reasonable steps to prevent and deter

 13   inflight sexual assault on its flights, and to properly respond to such assaults that do occur,

 14   particularly in light of UNITED’s knowledge of the growing prevalence of in-flight sexual assault.

 15           35.     While passengers are on a plane, they have little control over their surroundings:

 16   they are in cramped quarters; they cannot leave the plane until it lands; and they cannot engage in

 17   activities such as making phone calls or easily communicating with friends, family, or police

 18   authorities in the case of an emergency.

 19           36.     UNITED has control over passengers’ surroundings and, indeed, their activities

 20   during the time they are onboard the plane.

 21           37.     UNITED can – and does – exercise control over passengers who exhibit lewd,

 22   sexual, harassing, disruptive, violent, disorderly, or abusive behavior, reserving the right in its

 23   contract of carriage to refuse transportation to individuals who are intoxicated or under the

 24   influence of drugs, individuals who assault UNITED employees or passengers, and/or disobey

 25   flight crew instructions. 13

 26

 27   12
        #MeToo in the Air, Association Of Flight Attendants-CWA, https://www.afacwa.org/metoo#a1.
      13
        United Airlines, Inc. Contract of Carriage, Rule 21(H),
 28
      https://www.united.com/ual/en/us/fly/contract-of-carriage.html

                                                       7
                    FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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                                  #:170


  1          38.     UNITED can – and has a duty to – implement and enforce policies and procedures

  2   to prevent and deter in-flight sexual assaults and to properly respond to those that do occur, just

  3   as it does with other forms of passenger violence and disruption.

  4          39.     These     duties   extend   to   UNITED’s      employees,     including   FLIGHT

  5   ATTENDANTS.

  6          C.      ASSAILANT’S IN-FLIGHT HARASSMENT AND SEXUAL ASSAULT ON

  7                  PLAINTIFFS

  8          40.     PLAINTIFFS and ASSAILANT were passengers on UNITED “red-eye” flight

  9   number 415 (UA415) from Los Angeles (LAX) to Newark (EWR) (referred to herein as the

 10   “FLIGHT”). The FLIGHT was scheduled to department Los Angeles at 11:15 p.m. and arrive in

 11   Newark at 7:10 a.m.

 12          41.     PLAINTIFFS and ASSAILANT were assigned to the same row on the FLIGHT.

 13          42.     JOHN DOE 1 was assigned seat number 39K (middle) in the economy plus exit

 14   row.

 15          43.     JOHN DOE 2 upgraded to and was assigned seat number 39J (aisle) in the

 16   economy plus exit row.

 17          44.     ASSAILANT was assigned seat number 39L (window) in the economy plus exit

 18   row.

 19          45.     ASSAILANT boarded the UNITED plane after the majority of the plane had

 20   already taken their seats, including PLAINTIFFS. As ASSAILANT was finding her assigned row,

 21   PLAINTIFFS observed ASSAILANT to be disheveled and unbalanced. JOHN DOE 2 helped

 22   ASSAILANT with stowing her bag(s) in the overhead bin.

 23          46.     As ASSAILANT took her seat, she began harassing JOHN DOE 1, who was

 24   wearing a face mask in light of the news coverage he had heard regarding the prevalence and

 25   transmission of COVID-19, amongst other germs and diseases that might be passed or circulated

 26   on an airplane. ASSAILANT began hitting JOHN DOE 1’s arm and elbowing him. ASSAILANT

 27   accosted JOHN DOE 1 and told him that he was “frightening,” ordered him to move to the front

 28   and use the air in the front of the plane because he was sick, and questioned why JOHN DOE 1

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  1   had a mask on. JOHN DOE 1 respectfully responded that he was not sick and was being proactive,

  2   especially in wake of the growing COVID-19 concerns at that time.

  3          47.     Thereafter, approximately 25 minutes after taking her seat, ASSAILANT was

  4   observed by JOHN DOE 1 and JOHN DOE 2 taking unknown prescription medication(s). At all

  5   relevant times, ASSAILANT held her prescription bottle in her hand during the FLIGHT.

  6   PLAINTIFFS are informed and believe that, at all relevant times, ASSAILANT was under the

  7   influence of drugs and intoxicated.

  8          48.     JOHN DOE 2 immediately went to notify ROE 2, who was at a nearby service

  9   station, that ASSAILANT is harassing JOHN DOE 1, cursing, and being belligerent and

 10   disruptive. ROE 2 told JOHN DOE 2 that he would come to his row to check and see.

 11   Unfortunately, ROE 2 never came to check on PLAINTIFFS and ignored JOHN DOE 2’s

 12   complaints and concerns.

 13          49.     After JOHN DOE 2 took his seat, ASSAILANT continued to sexually assault and

 14   abuse JOHN DOE 1, make unwanted sexual advances towards JOHN DOE 1, and engage in

 15   verbal and/or physical conduct of a sexual nature towards JOHN DOE 1. ASSAILANT groped

 16   and massaged JOHN DOE 1’s knees and thighs. Fearful of the perception of being a male victim

 17   and the racial stigma of being a young African American male, JOHN DOE 1 patiently pleaded

 18   for ASSAILANT to stop and removed her hand. ASSAILANT’s actions were so inappropriate

 19   that JOHN DOE 2 quickly went to ROE 2 to notify him again of ASSAILANT’s inappropriate

 20   behavior. ROE 2

 21          50.     Unfortunately, ROE 2 ignored JOHN DOE 2’s second complaints and no actions

 22   were taken by UNITED employees, including the FLIGHT ATTENDANTS.

 23          51.     Approximately 75 minutes after the scheduled departure, ASSAILANT intensified

 24   her sexual assault and abuse of JOHN DOE 1 and continued to make unwanted sexual advances

 25   and engage in verbal and/or physical conduct of a sexual nature towards JOHN DOE 1.

 26   ASSAILANT starred at JOHN DOE 1 while grabbing and groping his quads and then stroking

 27   her hand across his lap towards the inside of his leg near his genitals. JOHN DOE 1 immediately

 28   removed ASSAILANT’s hand and pleaded to ROE 3, who was walking past and overheard JOHN

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  1   DOE 1 complaining. ROE 3 witnessed ASSAILANT’s inappropriate conduct and simply issued

  2   a verbal warning to ASSAILANT. No further action was taken at that time by either ROE 2 or

  3   ROE 3.

  4          52.      After ASSAILANT turned away towards the window, JOHN DOE 1 believed he

  5   was finally able to rest. Unfortunately, ASSAILANT put her hand through JOHN DOE 1’s jacket

  6   and caressed his chest and pecs working her way up to his face. While touching JOHN DOE 1’s

  7   face, ASSAILANT grabbed JOHN DOE 1’s penis and ripped off his face mask. JOHN DOE 1

  8   jumped up from his seat and complained in front of the entire plane that ASSAILANT is “touching

  9   me.” JOHN DOE 1, embarrassed and uncomfortable, rushed to notify ROE 2, who at the time

 10   was in the rear of the plane.

 11            53.    While JOHN DOE 1 went to go notify ROE 2, ASSAILANT moved over to the

 12   middle seat (JOHN DOE 1’s seat) and sexually assaulted JOHN DOE 2 by grabbing his leg and

 13   groin area.

 14            54.    When ROE 2 came over to PLAINTIFFS’ row, he asked, “is this the same lady?”

 15   ASSAILANT admitted that she was drinking and had taken pills. ROE 2 moved ASSAILANT to

 16   another row. PLAINTIFFS are informed and believe that ASSAILANT was moved a second time

 17   for being disruptive yet again and finally moved to a row with no other passengers.

 18          55.      UNITED presented JOHN DOE 1 and JOHN DOE 2 each with $150.00 voucher.

 19            D.     UNITED BREACHED ITS DUTY TO PLAINTIFFS BY FAILING TO

 20                   HAVE OR ENFORCE ADEQUATE POLICIES AND PROCEDURES TO

 21                   PREVENT AND PROPERLY RESPOND TO IN-FLIGHT SEXUAL

 22                   ASSAULTS

 23            56.    Upon information and belief, UNITED does not have and/or enforces adequate

 24   policies and procedures to prevent sexual assaults on its flights, and to properly respond to such

 25   incidents that do happen.

 26            57.    UNITED’s failure to have and/or enforce adequate policies and procedures for the

 27   prevention of and response to in-flight sexual assaults is a breach of its affirmative duty to protect

 28   and care for its passengers.

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  1           E.       AS A RESULT OF UNITED’S FAILURE TO HAVE OR ENFORCE

  2                    ADEQUATE POLICIES AND PROCEDURES, PLAINTIFFS

  3                    WERE PUT AT RISK AND HARMED

  4           58.      UNITED’s lack of and/or failure to enforce adequate policies and procedures for

  5   the prevention of and response to in-flight sexual assault put PLAINTIFFS (and other passengers)

  6   at risk of harm, and caused harm to PLAINTIFFS as they were verbally, physically, and sexually

  7   assaulted by ASSAILANT.

  8           59.      Moreover, UNITED’s lack of and/or failure to enforce adequate policies and

  9   procedures for the proper response to in-flight sexual assaults, specifically the sexual assaults at

 10   issue in this Complaint, exacerbated and amplified the trauma of the actual assault due to

 11   institutional betrayal.

 12           60.      The term “Institutional Betrayal” refers to wrongdoings perpetrated by an

 13   institution upon individuals dependent on that institution, including failure to prevent or respond

 14   supportively to wrongdoings by individuals (e.g. sexual assault) committed within the context of

 15   the institution. 14

 16                                       FIRST CAUSE OF ACTION

 17                         VIOLATION OF UNRUH ACT (CIVIL CODE § 51)

 18   (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)

 19           61.      PLAINTIFFS re-allege and incorporate by reference herein each and every

 20   allegation contained herein above as though fully set forth and brought in this cause of action.

 21           62.      PLAINTIFFS’ civil rights were violated by UNITED, FLIGHT ATTENDANTS,

 22   and ROES 4 through 50. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, ignored

 23   PLAINTIFFS’ complaints and failed to ensure, protect, and aid in the protection of PLAINTIFFS’

 24   safety. Specifically, UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, failed to take

 25   steps to prevent and deter the in-flight sexual assaults and properly respond to such assaults that

 26

 27   14 Jennifer J. Freyd, Institutional Betrayal and Institutional Courage,
      https://dynamic.uoregon.edu/jjf/institutionalbetrayal/. See also Carly Parnitzke Smith & Jennifer J.
 28
      Freyd, Institutional Betrayal, 69 AM. PSYCH. ASSOC. 575 (2014).

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  1   PLAINTIFFS endured, particularly in light of Defendants’ knowledge of the growing prevalence

  2   of in-flight sexual assault. PLAINTIFFS had a right to be free from gender, age, and racial

  3   discrimination, sexual molestation and assault, abuse and harassment under the Unruh Civil Rights

  4   Act.

  5          63.     UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, were acting under

  6   the color of their authority and scope of their employment while PLAINTIFFS were passengers

  7   on-board the FLIGHT operated by UNITED.

  8          64.     UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, denied

  9   PLAINTIFFS full and equal accommodations, advantages, facilities, privileges, or services

 10   because of their gender, age, and race, by allowing ASSAILANT unfettered ability to sexually

 11   abuse and harass PLAINTIFFS, as a passenger on the FLIGHT, by actively ignoring

 12   PLAINTIFFS’ complaints and lack of and/or failure to enforce adequate policies and procedures

 13   for the proper response to ASSAILANT’s sexual assault and harassment. UNITED, FLIGHT

 14   ATTENDANTS, and ROES 4 through 50, through PLAINTIFFS’ complaints, had actual notice

 15   of ASSAILANT’s wrongful conduct and chose to ignore PLAINTIFFS’ pleas for help during the

 16   FLIGHT.

 17          65.     UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, lack of and/or

 18   failure to enforce adequate policies and procedures for the proper response to in-flight sexual

 19   assaults, despite its knowledge of myriad reports of in-flight sexual assaults, UNITED, FLIGHT

 20   ATTENDANTS, and ROES 4 through 50, granted ASSAILANT unfettered ability to sexually

 21   assault and harass PLAINTIFFS. Thus, UNITED, FLIGHT ATTENDANTS, and ROES 4 through

 22   50’s, lack of and/or failure to enforce adequate policies and procedures for the proper response to

 23   in-flight sexual assaults denied PLAINTIFFS full and equal accommodations, advantages,

 24   facilities, privileges, or services during the duration of the FLIGHT, based upon their gender, age,

 25   and race.

 26          66.     The substantial motiving reason for UNITED, FLIGHT ATTENDANTS, and

 27   ROES 4 through 50’s, lack of and/or failure to enforce adequate policies and procedures for the

 28   proper response to in-flight sexual assaults was PLAINTIFFS’ gender, age, and race. UNITED,

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  1   FLIGHT ATTENDANTS, and ROES 4 through 50, unwittingly overlooked, disregarded, ignored,

  2   and took for granted the fact that sexual assaults and harassment can occur to young African

  3   American males.

  4           67.     As a direct and proximate result of UNITED, FLIGHT ATTENDANTS, and ROES

  5   4 through 50’s, acts, omissions, wrongful conduct and breaches of their duties, PLAINTIFFS were

  6   put at unnecessary risk of harm and in many cases suffered and continue to suffer great pain of

  7   mind and body, shock, emotional distress, physical manifestations of emotional distress including

  8   depression, anxiety, humiliation, loss of enjoyment of life, and fear of flying and travel; have

  9   suffered and continue to suffer and were prevented and will continue to be prevented from

 10   performing daily activities and obtaining the full enjoyment of life; may sustain loss of earnings

 11   and earning capacity; and may incur expenses for medical and psychological treatment, therapy,

 12   and counseling. PLAINTIFFS have suffered damages, both general and special damages, in an

 13   amount presently unknown but exceeding the minimum jurisdictional limit of this Court and as

 14   proven at the time of trial.

 15           68.     As a direct, proximate, and legal result of UNITED, FLIGHT ATTENDANTS, and

 16   ROES 4 through 50’s, violations of Civil Code section 51, they are liable to PLAINTIFFS for each

 17   and every offense for the actual damages, and any amount that may be determined by a jury, or a

 18   court sitting without a jury, up to a maximum of three times the amount of actual damage but in

 19   no case less than four thousand dollars ($4,000), and any attorney's fees that may be determined

 20   by the court in addition thereto, suffered by PLAINTIFFS as they were denied the rights provided

 21   in Civil Code section 51.

 22                                   SECOND CAUSE OF ACTION

 23                                         SEXUAL ASSAULT

 24                               (Plaintiffs Against Defendant ASSAILANT)

 25           69.     PLAINTIFFS re-allege and incorporate by reference herein each and every

 26   allegation contained herein above as though fully set forth and brought in this cause of action.

 27           70.     ASSAILANT, in doing the wrongful acts herein alleged, including intending to

 28   subject PLAINTIFFS to sexual abuse, harassment, and molestation during the FLIGHT as a

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  1   passenger, intended to cause harmful or offensive conduct with PLAINTIFFS’ person, or intended

  2   to put PLAINTIFFS in imminent apprehension of such conduct.

  3          71.      In doing the wrongful acts herein alleged, PLAINTIFFS were put in imminent

  4   apprehension of a harmful or offensive conduct by ASSAILANT and actually believed

  5   ASSAILANT had the ability to make harmful or offensive conduct with PLAINTIFFS’ person.

  6          72.      PLAINTIFFS did not consent to ASSAILANT’s intended harmful or offensive

  7   contact with PLAINTIFFS’ person, or intention to put PLAINTIFFS in imminent apprehension of

  8   such conduct.

  9          73.      In doing the wrongful acts herein alleged, ASSAILANT violated PLAINTIFFS’

 10   rights, pursuant to Civil Code section 43, of protection from bodily restraint or harm, and from

 11   personal insult. In doing the wrongful acts herein alleged, ASSAILANT violated her duty,

 12   pursuant to Civil Code section 1708, to abstain from injuring the person of PLAINTIFFS or

 13   infringing upon their rights.

 14          74.      As a result of the above-described conduct, PLAINTIFFS were put at unnecessary

 15   risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

 16   emotional distress, physical manifestations of emotional distress including depression, anxiety,

 17   humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

 18   suffer and were prevented and will continue to be prevented from performing daily activities and

 19   obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may

 20   incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS

 21   have suffered damages, both general and special damages, in an amount presently unknown but

 22   exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

 23          75.      In subjecting PLAINTIFFS to the wrongful acts herein described, ASSAILANT

 24   acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard

 25   of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil Code section 3294.

 26   PLAINTIFFS are therefore entitled to the recovery of punitive damages against ASSAILANT, in

 27   an amount to be determined according to proof.

 28   ///

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  1                                    THIRD CAUSE OF ACTION

  2                           SEXUAL BATTERY (CIVIL CODE § 1708.5)

  3                             (Plaintiffs Against Defendant ASSAILANT)

  4          76.     PLAINTIFFS re-allege and incorporate by reference herein each and every

  5   allegation contained herein above as though fully set forth and brought in this cause of action.

  6          77.     During the FLIGHT, ASSAILANT intentionally, recklessly, and wantonly did acts

  7   which were intended to, and did, result in harmful and offensive contact with intimate parts of

  8   PLAINTIFFS’ person, all while they were passengers on the FLIGHT operated by UNITED.

  9          78.     ASSAILANT committed the acts set forth herein with the intent to cause a harmful

 10   or offensive contact with an intimate part of PLAINTIFFS’ person and that would offend a

 11   reasonable sense of personal dignity. Further, said acts did cause a harmful or offensive contact

 12   with an intimate part of PLAINTIFFS’ person that would offend a reasonable sense of personal

 13   dignity.

 14          79.     PLAINTIFFS did not give consent to such acts.

 15          80.     As a direct, legal, and proximate result of the acts of ASSAILANT, PLAINTIFFS

 16   sustained serious and permanent injuries to their person, in an amount to be shown according to

 17   proof and within the jurisdiction of the Court.

 18          81.     In subjecting PLAINTIFFS to the wrongful acts herein described, ASSAILANT

 19   acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard

 20   of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil Code section 3294.

 21   PLAINTIFFS are therefore entitled to the recovery of punitive damages against ASSAILANT, in

 22   an amount to be determined according to proof.

 23                                   FOURTH CAUSE OF ACTION

 24                                              BATTERY

 25                             (Plaintiffs Against Defendant ASSAILANT)

 26          82.     PLAINTIFFS re-allege and incorporate by reference herein each and every

 27   allegation contained herein above as though fully set forth and brought in this cause of action.

 28          83.     ASSAILANT inappropriately touched PLAINTIFFS with intent to harm.

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  1           84.    PLAINTIFFS did not consent to the inappropriate touching.

  2           85.    PLAINTIFFS were harmed by ASSAILANT’s inappropriate and wrongful

  3   conduct.

  4           86.    Further, said acts by ASSAILANT did cause a harmful or offensive contact with

  5   an intimate part of PLAINTIFFS’ person that would offend a reasonable person in PLAINTIFFS’

  6   situation.

  7           87.    As a direct, legal, and proximate result of the acts of ASSAILANT, PLAINTIFFS

  8   sustained serious and permanent injuries to their person, in an amount to be shown according to

  9   proof and within the jurisdiction of the Court.

 10           88.    As a result of the above-described conduct, PLAINTIFFS’ were put at unnecessary

 11   risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

 12   emotional distress, physical manifestations of emotional distress including depression, anxiety,

 13   humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

 14   suffer and were prevented and will continue to be prevented from performing daily activities and

 15   obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may

 16   incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS

 17   have suffered damages, both general and special damages, in an amount presently unknown but

 18   exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

 19                                    FIFTH CAUSE OF ACTION

 20                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

 21                                  (Plaintiffs Against All Defendants)

 22           89.    PLAINTIFFS re-allege and incorporate by reference herein each and every

 23   allegation contained herein above as though fully set forth and brought in this cause of action.

 24           90.    The conduct of DEFENDANTS toward PLAINTIFFS, as described herein, was

 25   outrageous and extreme.

 26           91.    A reasonable person would not expect or tolerate the sexual harassment,

 27   molestation, and abuse suffered by PLAINTIFFS at the hands of ASSAILANT, or UNITED,

 28   FLIGHT ATTENDANTS, and ROES 4 through 50’s, knowledge and callous indifference thereof.

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  1   PLAINTIFFS had great trust, faith, and confidence in in UNITED, FLIGHT ATTENDANTS, and

  2   ROES 4 through 50, which, by virtue of ASSAILANT’s and UNITED, FLIGHT ATTENDANTS,

  3   and ROES 4 through 50’s, wrongful conduct, turned to fear.

  4          92.     A reasonable person would not expect or tolerate UNITED, FLIGHT

  5   ATTENDANTS, and ROES 4 through 50’s, lack of and/or failure to enforce adequate policies and

  6   procedures for the proper response to ASSAILANT’s sexual assault and harassment.

  7          93.     UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, were in a position

  8   of care and control over PLAINTIFFS. UNITED, FLIGHT ATTENDANTS, and ROES 4 through

  9   50’s, lack of and/or failure to enforce adequate policies and procedures for the proper response to

 10   in-flight sexual assaults, specifically the sexual assaults at issue in this Complaint, exacerbated and

 11   amplified the trauma of the actual assault.

 12          94.     A reasonable person would not expect or tolerate UNITED, FLIGHT

 13   ATTENDANTS, and ROES 4 through 50, to be incapable of supervising and/or stopping

 14   passengers, such as ASSAILANT, from committing acts of sexual assault on other passengers with

 15   actual notice of such wrongful acts. PLAINTIFFS provided UNITED, FLIGHT ATTENDANTS,

 16   and ROES 4 through 50, with actual notice and complaint of ASSAILANT’s wrongful conduct

 17   multiple times during the FLIGHT. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50,

 18   ignored those complaints, sat idly, and allowed ASSAILANT to continue her wrongful conduct.

 19   A reasonable person would not expect UNITED, FLIGHT ATTENDANTS, and ROES 4 through

 20   50, whose presence was supposed to ensure PLAINTIFFS’ comfort and safety during the FLIGHT,

 21   to sit idly by and not take action to prevent ASSAILANT’s wrongful conduct.

 22          95.     UNITED acted with intent or recklessness, knowing that PLAINTFFS were likely

 23   to endure emotional distress given their relative lack of power or control over their situation or

 24   ability to report a crime while passengers on the FLIGHT, and given UNITED’s, including

 25   FLIGHT ATTENDANTS, failure to report or adequately respond to PLAINTIFFS’ suffering a

 26   sexual assault while in-flight.

 27          96.     As a result of DEFENDANTS’ conduct, PLAINTIFFS sustained severe emotional

 28   distress, physical manifestations of emotional distress, emotional anguish, fear, anxiety,

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  1   humiliation, depression, and other physical and emotional injuries, and damages (both economic

  2   and noneconomic), in the past, present, and future, for which this claim is made. The injuries

  3   suffered by PLAINTIFFS are substantial, continuing, and permanent.

  4          97.     DEFENDANTS’ conduct caused suffering for PLAINTIFFS at levels that no

  5   reasonable person should have to endure.

  6          98.     As a result of the above-described conduct, PLAINTIFFS’ were put at unnecessary

  7   risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

  8   emotional distress, physical manifestations of emotional distress including depression, anxiety,

  9   humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

 10   suffer and were prevented and will continue to be prevented from performing daily activities and

 11   obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may

 12   incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS

 13   have suffered damages, both general and special damages, in an amount presently unknown but

 14   exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

 15          99.     In subjecting PLAINTIFFS to the wrongful acts herein described, DEFNEDANTS

 16   acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard

 17   of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil Code section 3294.

 18   PLAINTIFFS are therefore entitled to the recovery of punitive damages against DEFENDANTS,

 19   in an amount to be determined according to proof.

 20                                    SIXTH CAUSE OF ACTION

 21                    NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

 22   (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)

 23          100.    PLAINTIFFS re-allege and incorporate by reference herein each and every

 24   allegation contained herein above as though fully set forth and brought in this cause of action.

 25          101.    UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, conduct

 26   negligently caused emotional distress to PLAINTIFFS.

 27          102.    UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, knew or reasonably

 28   should have known that PLAINTIFFS who experienced in-flight sexual assault and were treated

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  1   poorly or inadequately in the aftermath would experience emotional distress.

  2          103.    UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, could reasonably

  3   foresee that its actions and omissions would have caused emotion distress to PLAINTIFFS.

  4          104.    UNITED, and its employees, are a common carrier. Common carriers must carry

  5   passengers safely. Common carriers must use the highest care and the vigilance of a very cautious

  6   person. They must do all that human care, vigilance, and foresight reasonably can do under the

  7   circumstances to avoid harm to passengers. A common carrier must use reasonable skill to provide

  8   everything necessary for safe transportation, in view of the transportation used and the practical

  9   operation of the business. PLAINTIFFS as passengers on the FLIGHT are unable to escape from

 10   their ASSAILANT or report a crime to authorities on their own. PLAINTIFFS reported

 11   ASSAILANT’s wrongful conduct to FLIGHT ATTENDANTS. Unfortunately, UNITED’s,

 12   including its FLIGHT ATTENDANTS, lack of and/or failure to enforce adequate policies and

 13   procedures for the proper response to in-flight sexual assaults, specifically the sexual assaults at

 14   issue in this Complaint, exacerbated and amplified the trauma of the actual assault.

 15          105.    UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, negligence was a

 16   substantial factor in causing PLAINTIFFS’ serious emotional distress.

 17          106.    As a result of UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s,

 18   conduct, PLAINTIFFS sustained severe emotional distress, physical manifestations of emotional

 19   distress, emotional anguish, fear, anxiety, humiliation, depression, and other physical and

 20   emotional injuries, and damages (both economic and noneconomic), in the past, present, and

 21   future, for which this claim is made. The injuries suffered by PLAINTIFFS are substantial,

 22   continuing, and permanent.

 23          107.    UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, conduct caused

 24   suffering for PLAINTIFFS at levels that no reasonable person should have to endure.

 25          108.    As a result of the above-described conduct, PLAINTIFFS’ were put at unnecessary

 26   risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

 27   emotional distress, physical manifestations of emotional distress including depression, anxiety,

 28   humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

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  1   suffer and were prevented and will continue to be prevented from performing daily activities and

  2   obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may

  3   incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS

  4   have suffered damages, both general and special damages, in an amount presently unknown but

  5   exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

  6                                   SEVENTH CAUSE OF ACTION

  7                                             NEGLIGENCE

  8   (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)

  9          109.    PLAINTIFFS re-allege and incorporate by reference herein each and every

 10   allegation contained herein above as though fully set forth and brought in this cause of action.

 11          110.    UNITED, as a common carrier, has a special duty to provide due care to ensure and

 12   protect and aid in the protection of its passengers’ safety. This duty includes one to take reasonable

 13   steps in order to prevent and deter in-flight sexual assault on its flights, and to properly respond to

 14   such assaults that do occur, particularly in light of UNITED’s knowledge of the growing

 15   prevalence of in-flight sexual assault.

 16          111.    UNITED, including its employees and FLIGHT ATTENDANTS, had special

 17   duties to protect PLAINTIFFS, when such individuals were passengers entrusted to UNITED’s

 18   care. PLAINTIFFS’ safety and well-being were entrusted to UNITED, including its employees

 19   and FLIGHT ATTENDANTS, during the FLIGHTS. UNITED, including its employees and

 20   FLIGHT ATTENDANTS, voluntarily accepted the entrusted care of PLAINTIFFS. As such,

 21   UNITED, including its employees and FLIGHT ATTENDANTS, owed PLAINTIFFS a special

 22   duty of care that common carriers dealing with passengers owe to protect them from harm, and to

 23   aid them in preventing and responding to harm. The duty to protect and warn arose from the

 24   common carrier doctrine that applies to airline carriers (including its employees and personnel).

 25          112.    Upon information and belief, UNITED, including its employees and FLIGHT

 26   ATTENDANTS, knew or should have known of the prevalence of in-flight passenger-on-

 27   passenger sexual assault and of the likelihood of risk and harm to its passengers absent

 28   implementation and enforcement of appropriate policies.

                                                        20
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  1          113.    UNITED, including its employees and FLIGHT ATTENDANTS, breached its duty

  2   of care to PLAINTIFFS by failing to implement and enforce uniform policies and procedures for

  3   the prevention, deterrence, and response to in-flight sexual assaults on its flights; by failing to

  4   report in-flight sexual assaults to the proper authorities, or to any authorities; and by failing to

  5   cooperate with authorities in the reporting and investigation process into in-flight sexual assaults.

  6          114.    UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, negligence was a

  7   substantial factor in causing PLAINTIFFS’ harm.

  8          115.    As a result of UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s,

  9   conduct, PLAINTIFFS sustained severe emotional distress, physical manifestations of emotional

 10   distress, emotional anguish, fear, anxiety, humiliation, depression, and other physical and

 11   emotional injuries, and damages (both economic and noneconomic), in the past, present, and

 12   future, for which this claim is made. The injuries suffered by PLAINTIFFS are substantial,

 13   continuing, and permanent.

 14          116.    As a result of the above-described conduct, PLAINTIFFS were put at unnecessary

 15   risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

 16   emotional distress, physical manifestations of emotional distress including depression, anxiety,

 17   humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

 18   suffer and were prevented and will continue to be prevented from performing daily activities and

 19   obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may

 20   incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS

 21   have suffered damages, both general and special damages, in an amount presently unknown but

 22   exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

 23                                   EIGHTH CAUSE OF ACTION

 24            NEGLIGENT HIRING, TRAINING, SUPERVISION, AND RETENTION

 25                  (Plaintiffs Against Defendants UNITED and ROES 4 through 50)

 26          117.    PLAINTIFFS re-allege and incorporate by reference herein each and every

 27   allegation contained herein above as though fully set forth and brought in this cause of action.

 28          118.    FLIGHT ATTENDANTS were hired, employed, trained, and/or supervised by

                                                       21
                    FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL
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  1   UNITED.

  2          119.    FLIGHT ATTENDANTS were unfit and/or incompetent to perform the work for

  3   which they were hired to perform. Specifically, by failing to implement and enforce uniform

  4   policies and procedures for the prevention, deterrence, and response to in-flight sexual assaults on

  5   its flights; by failing to report in-flight sexual assaults to the proper authorities, or to any

  6   authorities; and by failing to cooperate with such authorities in the reporting and investigation

  7   process into in-flight sexual assaults.

  8          120.    UNITED knew or should have known that FLIGHT ATTENDANTS were unfit

  9   and/or incompetent and that this unfitness and/or incompetence created a particular risk to

 10   PLAINTIFFS and others.

 11          121.    FLIGHT ATTENDANTS’ unfitness and/or incompetence harmed PLAINTIFFS.

 12          122.    UNITED’s negligence in hiring, training, supervision, and/or retention was a

 13   substantial factor in causing PLAINTIFFS’ harm.

 14          123.    As a result of UNITED’s negligence in hiring, training, supervision, and/or

 15   retention of FLIGHT ATTENDANTS, PLAINTIFFS sustained severe emotional distress, physical

 16   manifestations of emotional distress, emotional anguish, fear, anxiety, humiliation, depression, and

 17   other physical and emotional injuries, and damages (both economic and noneconomic), in the past,

 18   present, and future, for which this claim is made. The injuries suffered by PLAINTIFFS are

 19   substantial, continuing, and permanent.

 20          124.    As a result of the above-described conduct, PLAINTIFFS were put at unnecessary

 21   risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,

 22   emotional distress, physical manifestations of emotional distress including depression, anxiety,

 23   humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

 24   suffer and were prevented and will continue to be prevented from performing daily activities and

 25   obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may

 26   incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS

 27   have suffered damages, both general and special damages, in an amount presently unknown but

 28   exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

                                                       22
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  1                                      PRAYER FOR RELIEF

  2         WHEREFORE, PLAINTIFFS pray for damages and other judicial relief as follows:

  3         1.    For past, present, and future non-economic damages in an amount to be determined

  4               at trial;

  5         2.    For past, present, and future special damages, including but not limited to past,

  6               present, and future lost earnings, economic damages and others, in an amount to be

  7               determined at trial;

  8         3.    Any appropriate statutory damages;

  9         4.    For costs and expenses of suit;

 10         5.    For interest based on damages, as well as pre-judgment and post-judgment interest

 11               as allowed by law;

 12         6.    For attorney’s fees pursuant to California Code of Civil Procedure section 52, et

 13               seq. or as otherwise allowable by law;

 14         7.    For treble damages of the amount of actual damage but in no case less than four

 15               thousand dollars ($4,000) pursuant to California Code of Civil Procedure section

 16               52, et seq. or as otherwise allowable by law;

 17         8.    For exemplary and punitive damages;

 18         9.    For declaratory and injunctive relief, including but not limited to court supervision

 19               of UNITED, including its FLIGHT ATTENDANTS and employees; and

 20   ///

 21   ///

 22   ///

 23   ///

 24   ///

 25   ///

 26   ///

 27   ///

 28   ///

                                                    23
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  1         10.    For such other and further relief as the Court may deem proper.

  2

  3   Dated: May 20, 2020                        THE DARWISH LAW FIRM, APC

  4

  5                                             By:
  6
                                                        Darren D. Darwish, Esq.
  7                                                     Attorneys for Plaintiffs
                                                        JOHN DOE 1 and JOHN DOE 2
  8

  9
 10   Dated: May 20, 2020                        AZIZIAN LAW, P.C.

 11

 12
                                                By:
 13
                                                        Benjamin A. Azizian, Esq.
 14                                                     Attorneys for Plaintiffs
                                                        JOHN DOE 1 and JOHN DOE 2
 15

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  1                              DEMAND FOR JURY TRIAL

  2         PLAINTIFFS hereby demand a jury trial.

  3

  4   Dated: May 20, 2020                    THE DARWISH LAW FIRM, APC

  5

  6                                          By:
  7
                                                     Darren D. Darwish, Esq.
  8                                                  Attorneys for Plaintiffs
                                                     JOHN DOE 1 and JOHN DOE 2
  9
 10
      Dated: May 20, 2020                    AZIZIAN LAW, P.C.
 11

 12

 13                                          By:
                                                     Benjamin A. Azizian, Esq.
 14                                                  Attorneys for Plaintiffs
                                                     JOHN DOE 1 and JOHN DOE 2
 15

 16

 17

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                                                25
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                  EXHIBIT B
Electronically FILED by Superior Court of California, County of Los Angeles on 05/29/2020 11:39 AM Sherri R. Carter, Executive Officer/Clerk of Court, by W. Moore,Deputy Clerk
                 Case 2:20-cv-05554-RSWL-AGR Document 8-2 Filed 07/14/20 Page 32 of 41 Page ID     POS-010
        ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address)FOR COURT USE ONLY
          Darren Darwish | SBN: 305797             #:189
          The Darwish Law Firm, APC
          12301 Wilshire Blvd. Suite 520 Los Angeles, CA 90025
         TELEPHONE NO.: (424) 369-5353 | FAX NO. (424) 369-5356
         E-MAIL ADDRESS
           ATTORNEY FOR (Name): Plaintiff: John Doe 1, an individual;et al.

        Los Angeles County Superior Court - Stanley Mosk Courthouse
               STREET ADDRESS:       111 North Hill Street
                MAILING ADDRESS:

               CITY AND ZIP CODE: Los     Angeles, CA 90012
                    BRANCH NAME: Stanley       Mosk - Central District

            PLAINTIFF: John Doe 1, an individual;et al.                                                                          CASE NUMBER:

                                                                                                                                                  20STCV18888
         DEFENDANT: United Airlines, Inc., a Illinois Corporation., et al.

                                                                                                                                 Ref. No. or File No.:
                                                  PROOF OF SERVICE OF SUMMONS

                                                         (Separate proof of service is required for each party served.)
      1. At the time of service I was at least 18 years of age and not a party to this action.
      2. I served copies of:

          a.   P Summons
          b.   P Complaint
          c.   P Alternative Dispute Resolution (ADR) package
          d.   P Civil Case Cover Sheet
          e.        Cross-complaint
          f.   Pother (specify documents): See attached Document List
      3. a. Party served (specify name of party as shown on documents served):
          United Airlines, Inc., a Illinois Corporation
          b.   P Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                    item 5b on whom substituted service was made) (specify name and relationship to the party named in item 3a):
           CT Corporation System, c/o Albert Damonte - Registered Agent for Service of process
      4. Address where the party was served: CT Corporation System
                                             818 W 7th St Ste 930
                                             Los Angeles, CA 90017-3476
      5. I served the party (check proper box)
         a.    Pby personal service. I personally delivered the documents listed in item 2 to the party or person authorized to
                receive service of process for the party (1) on (date): 5/26/2020 (2) at (time): 11:24 AM
          b.        by substituted service. On (date): at (time): I left the documents listed in item 2 with or
                    in the presence of (name and title or relationship to person indicated in item 3b):
                    (1)         (business) a person at least 18 years of age apparently in charge at the office or usual place of business of the
                                person to be served. I informed him of her of the general nature of the papers.
                    (2)         (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place of
                                abode of the party. I informed him or her of the general nature of the papers.
                    (3)         (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing address
                                of the person to be served, other than a United States Postal Service post office box. I informed him of her of the
                                general nature of the papers.
                    (4)         I thereafter mailed (by first-class, postage prepaid) copies of the documents to the person to be served at the
                                place where the copies were left (Code Civ. Proc., §415.20). I mailed the documents on
                                (date): from (city):                                                 or    a declaration of mailing is attached.
                    (5)         I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                                            Page 1 of 2
      Form Approved for Mandatory Use                                                                                                       Code of Civil Procedure, § 417.10
      Judicial Council of California                                     PROOF OF SERVICE OF SUMMONS
      POS-010 [Rev. January 1, 2007]                                                                                                                             POS010-1/166300
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                                ON-CALL LEGAL
                                        #:190
                          1875 Century Park East, STE H
                                        Los Angeles, CA 90067
                       Phone: (310) 858-9800         Fax: (888) 543-5126

                               Continued from Proof of Service

        CLIENT:    The Darwish Law Firm, APC
  CLIENT FILE #:                                                      DATE: May 27, 2020

      SUBJECT:     United Airlines, Inc., a Illinois Corporation

First Amended Complaint; Civil Case Cover Sheet Addendum and
Statement of Location;Notice of Case Assignment Unlimited Civil
Case; First Amended Standing Order Re: Personal Injury Procedures at
the Spring Street Courthouse; Third Amended Standing Order-Re:Final
Status Conference, Personal Injury ('PI') Courts (effective as of
January 13, 2020); Fifth Amended Standing Order Re: Mandatory
Settlement Conference (Effective February 24, 2020)




                                                                                    Order#: 166300/DocAtt2010
                Case 2:20-cv-05554-RSWL-AGR Document 8-2 Filed 07/14/20 Page 34 of 41 Page ID
                                                  #:191
          PETITIONER: John Doe 1, an individual;et al.                   CASE NUMBER:

                                                                                                                      20STCV18888
      RESPONDENT: United Airlines, Inc., a Illinois Corporation., et al.


     c.         by mail and acknowledgment of receipt of service. I mailed the documents listed in item 2 to the party, to the address
                shown in item 4, by first-class mail, postage prepaid,
                (1) on (date):                                           (2) from (city):
                (3)      with two copies of the Notice and Acknowledgment of Receipt and a postage-paid return envelope addressed to me.
                         (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30.)
                (4)    to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40.)
     d.         by other means (specify means of service and authorizing code section):



           Additional page describing service is attached.
6. The ''Notice to the Person Served'' (on the summons) was completed as follows:

     a.         as an individual defendant.
     b.         as the person sued under the fictitious name of (specify):
     c.         as occupant.
     d.   P On behalf of      (specify): United Airlines, Inc., a Illinois Corporation
                under the following Code of Civil Procedure section:
                             P     416.10 (corporation)                         415.95 (business organization, form unknown)
                                   416.20 (defunct corporation)                 416.60 (minor)
                                   416.30 (joint stock company/association)     416.70 (ward or conservatee)
                                   416.40 (association or partnership)          416.90 (authorized person)
                                   416.50 (public entity)                       415.46 (occupant)
                                                                                other:

7. Person who served papers
   a. Name: Oscar Herrera - ON-CALL LEGAL
   b. Address: 1875 Century Park East, STE H Los Angeles, CA 90067
   c. Telephone number: (310) 858-9800
   d. The fee for service was: $ 97.95
   e. I am:

          (1)       not a registered California process server.
          (2)       exempt from registration under Business and Professions Code section 22350(b).
          (3)   P   registered California process server:
                  (i)      owner               P  employee            independent contractor.
                  (ii) Registration No.: 2018048510
                  (iii) County: Los Angeles

8.   P I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
           or
9.         I am a California sheriff or marshal and I certify that the foregoing is true and correct.



                Date: 5/27/2020
                ON-CALL LEGAL
                1875 Century Park East, STE H
                Los Angeles, CA 90067
                (310) 858-9800
                www.OnCallLegal.com




                                   Oscar Herrera
                      (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)




POS-010 [Rev January 1, 2007]                                                                                                         Page 2 of 2
                                                          PROOF OF SERVICE OF SUMMONS
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                  EXHIBIT C
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